                   Case 2:12-cr-00185-TLN Document 44 Filed 06/08/12 Page 1 of 2



      1   THOMAS A. JOHNSON, #119203
          400 Capitol Mall, Suite 1620
      2   Sacramento, California 95814
          Telephone: (916) 422-4022
      3
          Attorney for Defendant Nadeem Khan
      4
      5
      6                        IN THE UNITED STATES DISTRICT COURT

      7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

      8
                                                      ) Case No.: 2:12-cr-00185-JAM
      9   UNITED STATES OF AMERICA,                   )
                                                      )
    10                  Plaintiff,                    ) DEFENDANT’S WAIVER OF
                                                      ) APPEARANCE
    11        vs.                                     )
          ROBB HARRISON CHEAL, et al.,                )
    12                                                )
                        Defendants.                   )
    13                                                )
    14
    15           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the Defendant,

    16    Nadeem Khan, hereby waives the right to be personally present in open court upon the

    17    hearing of any motion or other proceeding in this case, except for any proceeding which

    18    Defendant’s presence is required such as a plea, any proceeding during the trial, and

    19    sentencing, or any court appearance which the Court orders Defendant to be present.

    20    Defendant hereby requests the Court to proceed during every absence of his presence

    21    which the Court may permit pursuant to this waiver. Defendant agrees that his interests

    22    will be deemed represented at all times by the presence of his attorney, the same as if

    23    Defendant were personally present, and further agrees to be present in court ready for

    24    trial any day and time the Court may arrange in his absence.

    25           The Defendant further acknowledges that he has been informed of his rights under

    26    Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times

    27    and delays under that Act without Defendant being present.

    28



                                      Waiver of Appearance            -1-
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                   Case 2:12-cr-00185-TLN Document 44 Filed 06/08/12 Page 2 of 2


          DATE: June 6, 2012                       /s/ Nadeem Khan
      1                                            NADEEM KHAN
                                                   Defendant
      2
      3   I agree with and consent to my client’s waiver of appearance.
      4
      5   DATE: June 6, 2012
                                                   /s/ Thomas A. Johnson
      6                                            THOMAS A. JOHNSON
                                                   Attorney for Nadeem Khan
      7
      8                                           ORDER
      9
                It is so ordered.
    10
    11
          Dated: 6/7/2012                          /s/ John A. Mendez____________
    12                                             JOHN A. MENDEZ
    13                                             United States District Court Judge

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                                    Waiver of Appearance            -2-
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